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8                                      UNITED STATES DISTRICT COURT

9                                 CENTRAL DISTRICT OF CALIFORNIA

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11   JACQUELYN “JACKIE” LACEY, in her            )   Case No. CV 24-5205 FMO (MAAx)
     individual capacity and as trustee of the   )
12   D and J Lacey Family Trust dated            )
     November 23, 2016,                          )
13                                               )   ORDER RE: APPOINTMENT OF SPECIAL
                          Plaintiff,             )   MASTER AND REFERRAL OF MOTION
14                                               )
                   v.                            )
15                                               )
     STATE FARM GENERAL INSURANCE                )
16   COMPANY,                                    )
                                                 )
17                        Defendant.             )
                                                 )
18                                               )

19           Having reviewed and considered the Special Master Affidavit (Dkt. 72), IT IS ORDERED

20   THAT:

21           1. The Hon. Michael R. Wilner (Ret.) of JAMS is appointed as Special Master in this action

22   pursuant to Rule 53(a) of the Federal Rules of Civil Procedure. The appointment is effective nunc

23   pro tunc as of January 6, 2025, the date the Court’s Order Re: Appointment of Special Master was

24   filed. The parties and the Special Master shall comply with all requirements and deadlines set

25   forth in the court’s previous orders.

26           2. Defendant’s Motion to Compel Arbitration (Dkt. 17, “Motion”) shall be referred to the

27   Special Master. Accordingly, the Motion (Document No. 17) and all supporting and related filings

28   are referred to the Special Master for a report and recommendation and any proceedings the
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1    Special Master deems appropriate. The parties shall provide the Special Master with copies of

2    the Motion and all documents filed in connection with the Motion.

3    Dated this 31st day of January, 2025.

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5                                                                       /s/
                                                                Fernando M. Olguin
6                                                          United States District Judge

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